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                         IN THE [JNITED STATES DISTzuCT COURT
                         FOR'I'HE NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

SAMUEL SAN MIGUEL,                                        )
                                                          )
                       Plainlill.                         )
                                                          )
                                                          )
                                                          )
JOHN COCHRAN,et al.,                                      )
                                                          )
                       Defendants.                        )    Civil Action No. 5:20-CV-041-C-BQ

                                                     ORDER

       Before the Court are the Findings, Conclusions, and Recommendation ofthe United

States Magistrate Judge therein advising that         Plaintifls Motion for Default Judgment should   be


denied and that Plaintifls claims against Texas Tech University Health Sciences Center should

be dismissed without prejudice.r

       The Court has reviewed the Findings, Conclusions, and Recommendation for clear error

and finds none. It is therefore ORDERED that the Findings, Conclusions, and Recommendation

are hereby   ADOPTED     as the   findings and conclusions of the Cou(. For the reasons stated

therein, Plaintiff s Motion for Default Judgment is hereby DENIED and Plaintifls claims

against Texas Tech University Heallh Sciences Center are DISMISSED without prejudice'
                                    /i.
                                          ./ '
        SO ORDERED       this   {t           day of September,2020.




                                                      S             C   INGS
                                                              IOR       D STAI'I.]S DI TRICTJUDGE


      r Plainliffhas failed to file timely objections to the United States M       ate Judge's repon and
recommendation and the time to do so has now expired.
